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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA

 Walter Glass,                          )        C/A No.: 1:20-1972-SAL-SVH
                                        )
                   Plaintiff,           )
                                        )
       vs.                              )
                                        )                 ORDER
 Jasmine Hill; Officer Cunningham;      )
 Tyatta Davis; and Wali Khan,           )
                                        )
                   Defendants.          )
                                        )

     Walter Glass (“Plaintiff”), proceeding pro se and in forma pauperis,

filed an complaint alleging defendants violated his constitutional rights.

[ECF No. 1]. By order dated June 8, 2020, service of process of the complaint

was authorized. [ECF No. 12]. On August 17, 2020, the summons for

defendant Cunningham was returned unexecuted. [ECF No. 18]. In the

“Remarks” section of the Forms USM-285, the United States Marshals

Service (“USMS”) indicated the South Carolina Department of Corrections

Office of General Counsel could not accept service on behalf of this defendant

and stated “more than one defendant.” Id.

     Plaintiff was previously warned: “Plaintiff must provide, and is

responsible for, information sufficient to identify defendants on the Forms

USM-285. The United States Marshal cannot serve an inadequately

identified defendant. Unserved defendants may be dismissed as parties to
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this case if not served within the time limit governed by Rule 4(m) and this

order.” [ECF No. 12 at 2]. Plaintiff is directed to complete by October 6, 2020,

a Form USM-285 that provides additional information to allow the USMS to

serve defendant. If Plaintiff fails to do so, the undersigned will recommend

Cunningham be dismissed.

      IT IS SO ORDERED.




September 22, 2020                         Shiva V. Hodges
Columbia, South Carolina                   United States Magistrate Judge




                                       2
